4:18-cr-03008-JMG-CRZ       Doc # 63    Filed: 09/17/18   Page 1 of 2 - Page ID # 146




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                     CASE NO: 4:18CR3008
      vs.

MARY NICOLE KEZIOS,                                   DETENTION ORDER
              Defendant.



      On the government's motion, the court afforded the defendant an
opportunity for a detention hearing under the Bail Reform Act, 18 U.S.C. §
3142(f). The court concludes the defendant must be detained pending trial.

      There is a rebuttable presumption that no condition or combination of conditions
of release will reasonably assure the defendant’s appearance at court proceedings and
the safety of the community because there is probable cause to believe the defendant
committed a drug crime under the Controlled Substances Act (21 U.S.C. § 801 et seq.),
for which the defendant could be required to serve ten or more years in prison. The
defendant has not rebutted this presumption.

      Based on the information of record, the court finds by a preponderance of
the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's
release would pose a risk of harm to the public,

      Specifically, the court finds that the defendant has a criminal history of
violating the law and court orders; violated conditions of release previously
imposed by a court; is addicted to or abuses mood-altering chemicals and is
likely to continue such conduct and violate the law if released; has limited
contacts with Nebraska; lacks a stable residence; has limited employment
contacts; has failed to appear for court proceedings in the past; committed the
4:18-cr-03008-JMG-CRZ      Doc # 63   Filed: 09/17/18      Page 2 of 2 - Page ID # 147




alleged crime while on supervision; and conditions which restrict Defendant’s
travel, personal contacts, and possession of drugs, alcohol, and/or firearms;
require reporting, education, employment, or treatment; or monitor Defendant’s
movements or conduct; or any combination of these conditions or others
currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently
ameliorate the risks posed if the defendant is released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated September 17, 2018.

                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
